Case 2:18-cv-02287-WB Document 1 Filed 05/31/18 Page 1 of 9
                             Case 2:18-cv-02287-WB  Document
                                             UNITED STATES    1 FiledCOURT
                                                           DISTRICT   05/31/18 Page 2 of 9
FOR THE EASTERN DISTRICT OF PENNSYLVANIA - DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.

Address of Plaintiff:    Country of India

Address of Defendant: Pennsylvania
                        -------------------------------------------------------
Place of Accident, Incident or Transaction: _ _-=-Pe:;.;n;.;:n;.;:s=lv"'a"'n"'ia'-----------------------------------------
                                                           (Use Reverse Side For Additional Space)

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?
  (Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.l(a))                                    YesD      No)ll

Does this case involve multidistrict litigation possibilities?                                                                   YesD         NoD
RELATED CASE, IF ANY:
Case Number: _ _ _ _ _ _ _ _ _ _ _ _ Judge _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Date T e r m i n a t e d : - - - - - - - - - - - - - - - - - - - - -

Civil cases are deemed related when yes is answered to any of the following questions:

I. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
                                                                                                                                YesD      NojX.
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
   action in this court?
                                                                                                                               YesD       No)i(
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously
     terminated action in this court?                                                                                            YesD         No)'(

4. ls this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?
                                                                                                                                 YesD         No.)(

CIVIL: (Place    t/ in ONE CATEGORY ONLY)
A Federal Question Cases:                                                                                B.   Diversity Jurisdiction Cases:
 1. o Indemnity Contract, Marine Contract, and All Other Contracts                                       I.   D   Insurance Contract and Other Contracts
2. o FELA                                                                                                2.   D   Airplane Personal Injury
3. o Jones Act-Personal Injury                                                                           3.   D   Assault, Defamation
4. o Antitrust                                                                                           4.   D   Marine Personal Injury
5. o Patent                                                                                              5.   D   Motor Vehicle Personal Injury
6.    D   Labor-Management Relations                                                                     6.   D   Other Personal Injury (Please specify)
7.    D   Civil Rights                                                                                   7.   D   Products Liability
8.    D   Habeas Corpus                                                                                  8.   D   Products Liability -        Asbestos
9.    D   Securities Act(s) Cases                                                                        9.   D   All other Diversity Cases
10. o Social Security Review Cases                                                                                (Please specify)
11. )(. All other Federal Question Cases
        (Please specify) 18 U.S.C. Section 1030

                                                                 ARBITRATION CERTIFICATION
      Q     \               M           ' • f;St'l....                    (Check Appropriate Category)
I,_v~-~~-fi_C._m
             ____t:c..W_~~~-'~'--~~-·-~·counsel of record do hereby certify:
  )14. Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
$150,000.00 exclusive of interest and costs;
  )( Relief other than monetary damages is sought.

            5·81·!2019'
DATE: _ _ _ _ _ _ _ __                                                                                                               200125
                                                         Attorney-at-Law
                                        NOTE: A trial de novo will be a trial by jury only ifther

I certify that, to my knowledge, the within case is not related to any case now pending or w· in one year previously terminated action in this court
except as noted above.

DATE:     5 . 3 I . .2 0 I g'                                                                                                             200125
                                                                                                                                     Attorney I.D.#
CN. 609 (5/2012)
Case 2:18-cv-02287-WB Document 1 Filed 05/31/18 Page 3 of 9
Case 2:18-cv-02287-WB Document 1 Filed 05/31/18 Page 4 of 9
Case 2:18-cv-02287-WB Document 1 Filed 05/31/18 Page 5 of 9
Case 2:18-cv-02287-WB Document 1 Filed 05/31/18 Page 6 of 9
Case 2:18-cv-02287-WB Document 1 Filed 05/31/18 Page 7 of 9
Case 2:18-cv-02287-WB Document 1 Filed 05/31/18 Page 8 of 9
Case 2:18-cv-02287-WB Document 1 Filed 05/31/18 Page 9 of 9
